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             VIA ECF

             The Honorable Sarah L. Cave
             Daniel Patrick Moynihan
             United States Courthouse
             500 Pearl Street, Courtroom 18A
             New York, New York 10007-1312

                    Re:       Joint Status Letter Concerning the Parties’ Settlement Negotiations –
                              Coty Inc. et al v. Cosmopolitan Cosmetics Inc. et al., 18-CV-11145 (LTS) (SLC)

             Dear Judge Cave:

                     We represent the Plaintiffs in the above-referenced action. We write on behalf of all
             Parties and pursuant to the Court’s October 22, 2020 Order (ECF No. 119), which stayed fact
             discovery through November 4 and directed the Parties to file by November 5 a joint letter
             stating whether they were able to reach a settlement (and otherwise attaching a proposed revised
             discovery schedule).

                     The Parties are very close to finalizing a written settlement agreement, and are working
             actively to resolve a single remaining issue. The Parties anticipate resolving this detail shortly
             and then executing their agreement. In light of this substantial progress, the parties respectfully
             request one further stay of discovery for fourteen (14) days to provide sufficient time to finalize
             and execute the settlement agreement. At the end of this period, the Parties expect to advise the
             Court that all claims and counterclaims have been resolved.

                                                                  Respectfully Submitted,

                                                                  /s/ Robert N. Potter

                                                            Robert N. Potter
               cc:      All Counsel of Record (via ECF)
The parties' request to extend the stay of discovery in this case to finalize their settlement negotiations (ECF No. 120) is
GRANTED. The parties' discovery deadlines are stayed through Thursday, November 19, 2020. The parties are directed
to file a joint letter by Friday, November 20, 2020, stating whether they have reached a settlement. If the parties are
not able to reach a settlement, the letter must attach a proposed revised discovery schedule. The parties are advised
that the Court is unlikely to grant any further stay requests. The Clerk of Court is respectfully directed to close ECF No.
120.

SO-ORDERED 11/6/20
                   ANCHORAGE ATLANTA AUGUSTA BEIJING CHARLOTTE DALLAS DENVER HOUSTON LOS ANGELES NEW YORK RALEIGH SAN DIEGO

                      SAN FRANCISCO SEATTLE SHANGHAI SILICON VALLEY STOCKHOLM TOKYO WALNUT CREEK WASHINGTON WINSTON-SALEM
